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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

STEPHEN LAMAR VAUGHN,                        )
AIS #272806,                                 )
                                             )
       Plaintiff,                            )
                                             )
       v.                                    ) CIVIL ACTION NO. 2:20-CV-453-RAH
                                             )
TRACY JONES, et al.,                         )
                                             )
       Defendants.                           )

                                        ORDER

        On July 16, 2020, the Magistrate Judge entered a Recommendation (Doc. 7) to

 which no timely objections have been filed. After an independent review of the file and

 upon consideration of the Recommendation, it is ORDERED that:

       1. The Recommendation of the Magistrate Judge is ADOPTED.

       2. The plaintiff’s claims against the Alabama Board of Pardons and Paroles are

DISMISSED with prejudice under the directives of 28 U.S.C. § 1915(e)(2)(B)(i) and (iii)

as this defendant is absolutely immune from suit.

       3. The plaintiff’s due process claim challenging the fundamental legality of his

current incarceration as a parole violator is DISMISSED without prejudice pursuant to the

provisions of 28 U.S.C. § 1915(e)(2)(B)(ii) because such claim currently provides no basis

for relief in the instant cause of action.
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       4. The plaintiff’s pendent state law claim is DISMISSED without prejudice to any

right the plaintiff may have to present this claim to the state courts as this court deems it

inappropriate to exercise supplemental jurisdiction over this claim.

       5. This case is DISMISSED prior to service of process in accordance with the

directives of 28 U.S.C. § 1915(e)(2)(B)(i), (ii) and (iii).

       DONE, this 15th day of September, 2020.


                                           /s/ R. Austin Huffaker, Jr.
                                    R. AUSTIN HUFFAKER, JR.
                                    UNITED STATES DISTRICT JUDGE




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